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 4
                                   UNITED STATES DISTRICT COURT
 5                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 6
      UNITED STATES OF AMERICA,
 7
                                   Plaintiff(s),
 8
                                                                 No. CR05-260RSL
                     vs.
 9
                                                                 MINUTE ORDER
      MATTHEW ERICKSON,
10
                                   Defendant(s).
11

12                 The following Minute Order is made and entered on the docket at the direction of the

13   HONORABLE ROBERT S. LASNIK, UNITED STATES DISTRICT JUDGE:

14          The final hearing regarding revocation of supervised release for the above named defendant has

15   been rescheduled from Wednesday, October 10, 2012 at 10:00 a.m., to Wednesday, October 10, 2012

16   at 9:30 a.m. before the Honorable Robert S. Lasnik, United States District Court Judge.

17

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19

20          DATED this 9th day of October, 2012.

21

22                                                      /s/Kerry Simonds
                                                        by Kerry Simonds, Deputy Clerk
23                                                      To Robert S. Lasnik, Judge
                                                        206-370-8519
24   Copy to the Court
     and Counsel
25

26   MINUTE ORDER
